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                                          UNITED STATES DISTRICT COURT
                                             MIDDLE DISTRICT OF ALABAMA
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                                              ONE CHURCH STREET, ROOM B-110
                                               MONTGOMERY, ALABAMA 36104

TREY GRANGER, CLERK                                                                           TELEPHONE (334) 954-3600


                                                 February 16, 2024

                                              NOTICE OF ASSIGNMENT



         To:     All Counsel of Record

         Re:      American Alliance for Equal Rights v. Ivey

                  Civil Action No:   2:24-cv-00104

         The above-styled case has been assigned to Judge Myron H. Thompson, as presiding judge and
         Judge Jerusha T. Adams, as referral judge.

         Please note that the case number is now 2:24−cv−104-MHT-JTA. The new case number should
         be used on all future correspondence and pleadings.
